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                              CASE NO. 18-cv-298-CVE-JFJ


                 IN THE UNITED STATES DISTRICT COURT FOR THE
                       NORTHERN DISTRICT OF OKLAHOMA



                       RICHARD FELTZ and ASHTON DENNIS,
                  on behalf of themselves and all others similarly situated,
                                         Plaintiffs,
                                              v.

                      BOARD OF COUNTY COMMISSIONERS OF
                          THE COUNTY OF TULSA, et al.,

                                        Defendants.



                        DEFENDANT PRESIDENT JUDGE’S
                    MOTION TO DISMISS AND BRIEF IN SUPPORT




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                                      March 31, 2021
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                          IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF OKLAHOMA

     RICHARD FELTZ, on behalf of himself and
     all others similarly situated,

          Plaintiff,
     v.                                               Case No.: 18-cv-298-CVE-JFJ

     TULSA COUNTY, et al.,

          Defendants.

    DEFENDANT PRESIDING JUDGE’SMOTION TO DISMISS AND BRIEF IN SUPPORT

           Defendant Presiding Judge and District Judge William LaFortune (“LaFortune”), by and

    through the undersigned counsel, respectfully requests the Court dismiss Plaintiffs Richard Feltz

    and Ashton Dennis’s Second Amended Complaint [Doc. 259] against him pursuant to Fed. R. Civ.

    P. 12(b). In support of his request, LaFortune shows the Court the following:

                                          INTRODUCTION

               A. Plaintiffs’ backgrounds and Second Amended Complaint

           On March 3, 2021, the Second Amended Complaint was filed in this matter. [Doc. 259].

    The motion to amend the complaint was filed on December 20, 2020 and granted on February 26,

    2021. [Docs. 224 and 256]. In the Second Amended Complaint, there are five (5) paragraphs

    specifically mentioning Feltz and nine (9) paragraphs specifically mentioning Dennis out of the

    141 paragraphs. [Doc. 259 at ¶¶ 15-16 and 27-34].

           Plaintiff Feltz was a pretrial detainee in the custody of the Tulsa County Jail at the time

    this suit was filed on June 6, 2018. While detained in the Tulsa County Jail, Plaintiff Feltz was

    given a bail amount pursuant to the pre-set bail schedule. On June 9, 2018, Plaintiff Feltz was

    released from detention after posting bond via a private surety. On June 11, 2018, Plaintiff Feltz
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    then appeared at his initial arraignment before Judge Moody 1 with private counsel. After his initial

    arraignment, Plaintiff Feltz went to Florida for ninety (90) days to obtain treatment. Plaintiff Feltz

    has resolved the criminal proceedings for which he was a pretrial detainee except for the post-

    conviction payment of costs and fines. See Feltz Criminal Docket Sheet, attached as Exhibit 1.

           At the time of Plaintiff Feltz’s arrest (without warrant) 2 and detention in the Tulsa County

    jail, LaFortune was not the Presiding Judge and Rule CR2 of the Local Rules for the Fourteenth

    Judicial District had not been adopted by the district judges of Tulsa County. Plaintiff Feltz has

    generally alleged there was no process for him to receive bail other than the pre-set bail schedule

    bail amount under the policies of the then Presiding Judge (Judge Musseman). [Doc. 259 at ¶ 4].

           Based upon the allegations in the Second Amended Complaint, Feltz has two generically

    entitled federal claims against LaFortune: “Count One: Defendants Presiding Judge LaFortune,

    Tulsa County Board, and Tulsa County Sheriff Violate Plaintiffs’ Equal Protection and Due

    Process Rights Against Wealth-Based Detention by Jailing Them Because They Cannot Afford A

    Monetary Payment.” [Doc. 259 at p.31] and “Count Two: Defendants Violate Plaintiffs’ Right to

    Pretrial Liberty by Jailing Them Without Procedural Due Process.” [Doc. 259 at p.31]. However,

    he really has six federal claims for relief against LaFortune as he seeks: (1) declaration of violation

    of equal protection under Count One; (2) injunctive relief for the equal protection claim under

    Count One; (3) declaration of violation of substantive due process under Count One; (4) injunctive


    1
      Judge Moody is no longer a party to this case as she is no longer a special judge, but a district
    judge. Judge Julie Doss has been substituted for Judge Moody as Judge Doss was appointed to
    Judge Moody’s special judge office.
    2
      Feltz and Dennis were arrested for crimes that appear on the pre-set bail schedule. There are
    certain classes of crimes that are not eligible for the pre-set bail schedule such as domestic abuse.
    See 22 O.S. § 1105.3. These crimes have their own statutory and local procedures neither of which
    apply to these Plaintiffs. Similarly, warrants have their own statutory and local procedures, which
    also do not apply to these Plaintiffs. Plaintiffs seek to include in their claims challenges to warrant
    arrest procedures and arrests that do not have bail amounts on the pre-set bail schedule. They do
    not have standing to assert these claims.
                                                    ~2~
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    relief for the substantive due process claim under Count One; (5) declaration of violation of

    procedural due process under Count Two; and (6) injunctive relief for the procedural due process

    violation under Count Two.

           Plaintiff Dennis was arrested (without warrant) on December 15, 2020 and detained in the

    Tulsa County jail. At booking into the Tulsa County jail, Plaintiff Dennis was given a bond amount

    of $51,000.00 for the four arrest charges against him pursuant to the pre-set bail schedule. On

    December 16, 2020, Plaintiff Dennis appeared before Defendant Special Judge Tanya Wilson on

    the bond docket. At this hearing, Judge Wilson reviewed the probable cause affidavit, the bail to

    be set, heard argument from Plaintiff Dennis’ public defender and the Assistant District Attorney.

    Judge Wilson then issued her ruling from the bench, which dismissed two of the counts and set the

    bail at $4,000.00. See Dennis NF Docket Sheet, attached as Exhibit 2. After Dennis’ appearance at

    the bond docket, he remained detained through his initial arraignment on December 21, 2020,

    where he was appointed counsel by Judge Guten for his remainder of his case and his bond was

    addressed again. See Dennis CF Docket Sheet, attached as Exhibit 3. On December 23, 2020,

    Dennis posted bail via the Bail Project and released from the Tulsa County jail. On February 23,

    2021, the criminal charges against Dennis were dismissed. See Ex. 3.

           At the time of Plaintiff Dennis’ arrest (without warrant) and detention in Tulsa County jail,

    LaFortune was (and still is) the Presiding Judge and Rule CR2 was in effect (as adopted by the

    district judges of Tulsa County). See Rule CR2, attached as Exhibit 4.

           Based upon the allegations in the Second Amended Complaint, Dennis also has the two

    generically entitled claims against LaFortune (same as Feltz) [Doc. 259 at p.31]) that are really six

    federal claims for relief: (1) declaration of violation of equal protection under Count One for

    wealth based detention; (2) injunctive relief for the equal protection claim for wealth based

    detention under Count One; (3) declaration of violation of substantive due process under Count

    One; (4) injunctive relief for the substantive due process claim under Count One; (5) declaration

                                                   ~3~
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    of violation of procedural due process under Count Two as relates to the bond docket hearing

    process; and (6) injunctive relief for the due process violation under Count Two as relates to the

    bond docket hearing process.

           Plaintiffs Feltz and Dennis then in their “Request for Relief” ask for the following:

           a. An order and judgment preliminarily and permanently enjoining Defendants the
           Tulsa County Board, Sheriff Regalado, and the Tulsa County District Court
           Presiding Judge LaFortune from using secured financial conditions of release to
           detain Plaintiffs and class members without ensuring a due process-compliant
           inquiry into and findings concerning a person’s ability to pay, without due process-
           compliant consideration of and findings concerning alternatives, without findings
           concerning the necessity of detention, and without appointing counsel to assist at
           due process-compliant bail hearings and meaningfully challenge pretrial detention;
           b. A declaration that the Defendants violate Plaintiffs’ and class members’
           constitutional rights by requiring secured financial conditions of release without
           findings concerning ability to pay and necessity of detention, and by issuing and
           enforcing de facto orders of wealth-based pretrial detention without consideration
           of alternatives and without findings that such detention is necessary to serve a
           compelling interest;
           c. A declaration that the Defendants violate Plaintiffs’ and class members’ right to
           procedural due process under the Fourteenth Amendment by depriving people who
           are arrested of speedy, individualized release hearings with notice, counsel, the
           opportunity to be heard and to confront evidence, and findings on the record that
           the government met its burden to demonstrate by clear and convincing evidence
           that no alternative condition or combination of conditions would be sufficient to
           serve its compelling interests; ….

    [Doc. 259 at p.32-35].




                                                  ~4~
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    B. Presiding Judge

           The Presiding Judge is a statutorily created position under the laws of the State of

    Oklahoma. See 20 O.S. §23 3, 20 O.S. Ch. 1 Appx 2 Rule 1. 4 This position is limited to certain

    administrative and executive level tasks for the district courts in the judicial district over which

    the position sits. Rule 1(A). By Rule, each presiding judge performs administrative supervisory

    duties to ensure efficient operation of court business. Mandatory duties include “general

    administrative authority and supervision” over assignment of cases, the work and operation of

    courts, and any other duties assigned by the Chief Justice. Rule 1(D). Discretionary duties include

    assisting and counseling other judges in their administrative responsibilities, coordinate and assign

    court personnel, make assignments to balance workloads of court personnel and other duties to

    carry out the purpose of the rules. Rule 1(E)(emphasis added). Rules 2, 3, and 6 further outline the

    administrative and executive functions of the presiding judge. Rule 2 provides for general

    administration and supervision of court personnel, specifically the assignments and schedules

    necessary for personnel management. 20 O.S. Ch. 1 Appx 2 Rule 2. Rule 3 provides for

    administrative oversight and control for the assignment of judges and court personnel. 20 O.S. Ch.

    1 Appx 2 Rule 3. Rule 6 provides for the assembly of presiding judges to “discuss methods of

    improving the administration of justice.” 20 O.S. Ch. 1 Appx 2 Rule 6.




    3
     “The Supreme Court is authorized by rule or order to:…(2) Fix the administrative powers of the
    presiding judge, including but not limited to rules under which the presiding judge may assign
    judges to hold court outside of their own district but within the administrative district. Where not
    inconsistent with the rules of the Supreme Court, the presiding judge of the judicial administrative
    district may adopt rules that are calculated to bring about a more speedy and efficient
    administration of justice within his administrative district, including the appropriate times and
    places of holding court.”
    4
     Title 20 Ch. 1, Appx 2 Rules on Administration of the Courts Rule 1 Presiding Judges and Chief
    Judge
                                                   ~5~
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           The presiding judge, therefore, is an administrative or executive office for the particular

    judicial administrative district, not an independent source of review for any particular decision on

    a case or docket. It was created to ensure the efficient function of the courts and personnel through

    docket assignments, schedules, workflow, etc. For example, presiding judges have the authority to

    issue administrative orders to implement specific Supreme Court orders or directives, such as such

    as deciding and directing which dockets were suspended for in person proceedings, and how to

    maintain critical dockets during courthouse closures due to the pandemic. This position does not

    have judicial review functions over the cases generally heard by the courts such that the Presiding

    Judge does not correct decisions made in individual proceedings. Nor is it a function of the

    Presiding Judge to monitor the daily proceedings of the other judges in the judicial district as the

    Presiding Judge has a full docket of individual proceedings to decide too. 5

           The initial creation of the bond docket via Administrative Order occurred under former

    Presiding Judge Musseman’s authority to ensure the efficient operation of the criminal courts of

    Tulsa County. Less than a year later, the district judges and the associate judge in the judicial

    district codified the current version of Rule CR2 in accordance with Rule 1 of the Local Rules for

    the Fourteenth Judicial District 6 , thus establishing the permanence of the bond docket. The

    Presiding Judge does not have the authority to unilaterally amend or suspend the local rules.


    5
     See Hyland v. Davis, 149 F.3d 1183, 1998 WL 384556, *2 (6th Cir. 1998) (unpublished table
    decision)(“Providing direction on the enforcement of a court rule, although somewhat
    administrative in nature, is still a judicial act for which the judge is immune because the parties’
    rights and liabilities are thereby affected.”) (citing Mann v. Conlin, 22 F.3d 100, 104 (6th Cir.),
    cert. denied, 513 U.S. 870 (1994)).
    6
     AMENDED GENERAL RULES
    Adopted 7-13-2011
    RULE 1. Official Court Rules - Adoption, Amendments, Supplements, Repeal The Local Rules of
    the Tulsa County District Court may be amended by a majority vote of the District and Associate
    District Judges of Tulsa County. Amendments to the Local Rules shall become effective
    immediately upon adoption by the District and Associate District Judges. Notice of changes shall

                                                   ~6~
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       C. Oklahoma’s Bail Scheme

       The Oklahoma Legislature has codified a bail scheme at 22 O.S. Chapter 19 Bail. It is made

    up of the Bail Act at 22 O.S. § 1101 to § 1105, the Pretrial Release Act at 22 O.S. § 1105.1 to §

    1114.5A, and the State and Municipal Traffic, Water Safety, and Wildlife Bail Bond Procedure

    Act at 22 O.S. § 1115 to § 1115.5. There are also limited directives in Title 59 Chapter 33 and

    33A, which regulate and license bail bondsmen. The Bail Act set out offenses for which bail may

    be denied and sets an evidentiary standard for denial of bail for those offenses ( 22 O.S. § 1101)

    and sets out bail setting and release requirements for certain domestic offenses (22 O.S. § 1105).

    The Pretrial Release Act expands the statutory framework for determining the release of arrestees.

    The Legislature delegated the authority to each presiding judge to establish a bail schedule for

    felony and misdemeanor offenses subject to certain statutory exceptions and exclusions. 22 O.S.

    § 1105.2(c) requires that pretrial bail be set in a numerical dollar amount and provides that failures

    to appear may result in the authorizing judge rescinding bail and entering a judgment in a dollar

    amount of pretrial bail if a private bail was not given at the time of release. The Presiding Judge

    otherwise has discretion, with consultation with the courts and district attorney of the judicial

    district, to set the specific amounts on the bond schedule. 22 O.S. § 1105.2 also gives judges

    discretion to use pretrial services where such program exists pursuant to 22 O.S. § 1105.3.

    Recognizance bonds are allowed by statute following an appearance before a judge. See 59 O.S. §

    1334 “person in custody before the court” or authorized by judge; 22 O.S. § 1108.1 “final order of

    forfeiture by authorizing and issuing judge”.

           While the Presiding Judge has the statutory authority to establish a bail schedule to be

    published and reviewed by the courts and the district attorney of the judicial district (22 O.S. §



    be posted at the Courthouse and on the Court’s website. The local rules shall be available for access
    via the internet from the Court’s website at www.tulsacountydistrictcourt.org

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    1105.2), the presiding judge does not enforce the use of the schedule as bonds are set individually

    by the judge hearing any particular case. See Rule CR1. 7 The bail schedule is in place to allow for

    the efficient pre-hearing release for those that choose to utilize it. It acts as a standing order of

    release for those that meet the requirements and choose to abide by its terms. Once a criminal

    defendant appears before a judge acting as a magistrate for the purpose of setting conditions of

    release, the bail schedule is not binding. See Rule CR2 8. The review authority for a bond setting,

    even pursuant to the bail schedule, exists through a motion to modify/reduce bond before a

    magistrate and/or the district judge hearing the case, depending on whether felony or misdemeanor

    charges have been filed, and then through a writ of habeas corpus. 9

           Finally, under Oklahoma Court of Criminal Appeals precedent, “[b]ail is not to be deemed

    excessive simply because the particular person charged cannot give the bail required.” Ex Parte

    McClellan, 97 P. 1019, 1020 (Okla. Crim. App. 1908). “[P]ersonal financial resources are only

    one factor determining whether an accused is confined prior to trial. The gravity of the offense,


    7
     LCR1 “A Criminal and Traffic Bond Index has been prepared and will be periodically reviewed
    under the direction of the Presiding Judge. This listing of bonds shall be for the purpose of
    expediting releases from the Tulsa County Jail and as a guide for judges to follow in order to
    provide consistency in bond settings. It shall not, however, affect the discretion of a Judge initially
    to set a higher or lower bond without a hearing or to raise or lower a bond initially set in a case,
    provided a proper hearing is held with all parties present.”
    8
     The purpose of the bail schedule is to permit the posting of bail without a delay associated with
    the "First Appearance" within 48 hours of being confined to the David L. Moss Criminal Justice
    Center, as mandated by 20 O.S. § 55. It is the opinion of the Court that the employ of such a
    schedule, as authorized by state law, “provides speedy and convenient release for those who have
    no difficulty in meeting its requirements[.]” Pugh v. Rainwater, 572 F.2d 1053, 1057 (5th Cir.
    1978)
    9
     A criminal defendant can file motions at the district level court requesting a reduction or change
    in bail conditions. See Guten Depo. at pp. 79-80, 115-116, attached as Exhibit 5. A criminal
    defendant can also file writs with the appropriate appellate court, the Court of Criminal Appeals.
    See Clark v. Hall, 53 P.3d 416 (Okla.Cr. 2002) (writ of habeas corpus used to by pretrial detainee
    to get individualized hearing on bail amount). Finally, a criminal defendant could preserve the
    issue for appeal and appeal it. See Bowman v. State, 585 P.2d 1373; Hainey v. State, 740 P.2d 146
    (Okla. Cr. 1987). None of these methods were used by either Plaintiff.
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    the accused's contacts in the community, his previous record, and his ability to receive assistance

    from friends and family are equally important factors, and are not related to indigency. In some

    cases, bail may be denied regardless of the defendant's financial status. Hubbard v. State, 45 P.3d

    96, 101 (Okla. Crim. App. 2002) (citing OKLA. CONST. art. II, § 8; Petition of Humphrey, 1979

    OK CR 97, ¶ 14, 601 P.2d 103, 108).

                                   ARGUMENT AND AUTHORITIES

    RULE 12(b)(1) STANDARD OF REVIEW

            “Generally, Rule 12(b)(1) motions to dismiss for lack of subject matter jurisdiction take

    two forms. First, a facial attack on the complaint’s allegations as to subject matter jurisdiction

    questions the sufficiency of the complaint.” Holt v. U.S., 46 F.3d 1000, 1002 (10th Cir. 1995)

    (citing Ohio Nat'l Life Ins. Co. v. United States, 922 F.2d 320, 325 (6th Cir.1990)). “In reviewing

    a facial attack on the complaint, a district court must accept the allegations in the complaint as

    true.” Id.

            “Second, a party may go beyond allegations contained in the complaint and challenge the

    facts upon which subject matter jurisdiction depends.” Id. at 1003. “When reviewing a factual

    attack on subject matter jurisdiction, a district court may not presume the truthfulness of the

    complaint's factual allegations.” Id. “A court has wide discretion to allow affidavits, other

    documents, and a limited evidentiary hearing to resolve disputed jurisdictional facts under Rule

    12(b)(1).” Id.; Wheeler v. Hurdman, 825 F.2d 257, 259 n. 5 (10th Cir.), cert. denied, 484 U.S. 986,

    108 S.Ct. 503 (1987). “In such instances, a court’s reference to evidence outside the pleadings

    does not convert the motion to a Rule 56 motion.” Holt, 46 F.3d at 1003 (citing Wheeler, 825 F.2d

    at 259 n. 5). Plaintiffs have the burden of establishing jurisdiction. See Kokkonen v. Guardian Life

    Ins. Co., 511 U.S. 375, 377 (1994). LaFortune brings a factual challenge to the Court’s subject

    matter jurisdiction as to Plaintiffs’ claims. “If the court determines at any time that it lacks subject-

    matter jurisdiction, the court must dismiss the action.” Fed. R. Civ. P. 12(h)(3).

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    RULE 12(b)(6) STANDARD OF REVIEW

           Rule 12(b)(6) of the Federal Rules of Civil Procedure empowers a court to dismiss a

    complaint for failure to state claims upon which relief may be granted. Motions to dismiss are

    properly granted when a complaint provides no “more than labels and conclusions, and a formulaic

    recitation of the elements of a cause of action.” Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 127

    S.Ct. 1955, 1965 (2007). A complaint must contain enough “facts to state a claim to relief that is

    plausible on its face” and those factual allegations “must be enough to raise a right to relief above

    the speculative level.” Bell Atlantic, at 1965, 1974 (citations omitted). “Once a claim has been

    stated adequately, it may be supported by showing any set of facts consistent with the allegations

    in the complaint.” Id. at 1969. A court is not required to accept as true allegations that are

    conclusory in nature. Erikson v. Pawnee County Bd. of County Comm'rs, 263 F.3d 1151, 1154-55

    (10th Cir. 2001) (citations omitted). “[C]onclusory allegations without supporting factual

    averments are insufficient to state a claim upon which relief can be based.” Hall v. Bellmon, 935

    F.2d 1106, 1109-10 (10th Cir. 1991). Finally, “dismissal under Rule 12(b)(6) is appropriate if the

    complaint alone is legally insufficient to state a claim.” Broker’s Choice of Am. v. NBC Universal,

    Inc., 861 F.3d 1081, 1104-05 (10th Cir. 2017) (citing Peterson v. Grisham, 594 F.3d 723, 727

    (10th Cir. 2010)).

           Plaintiffs’ Second Amended Complaint does not comply with the pleading standards and

    in the context of a civil rights complaint specificity in pleading is essential. A complaint must

    clearly state what each defendant--typically, a named government employee--did to violate

    Plaintiff’s civil rights. See Bennett v. Passic, 545 F.2d 1260, 1262-63 (10th Cir. 1976) (stating

    personal participation of each named defendant is essential allegation in civil-rights action). “To

    state a claim, a complaint must ‘make clear exactly who is alleged to have done what to whom.’”

    Stone v. Albert, 338 F.App’x 757, 759 (10th Cir. 2009) (emphasis in original) (quoting Robbins v.

    Oklahoma, 519 F.3d 1242, 1250 (10th Cir. 2008)).

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    PROPOSITION I:         PLAINTIFFS DO NOT HAVE A LIVE CASE OF CONTROVERSY
                           AGAINST LAFORTUNE.

           “Article III of the Constitution limits federal judicial power to ‘Cases’ and ‘Controversies.’

    A party that cannot present a case or controversy within the meaning of Article III does not have

    standing to sue in federal court.” Hobby Lobby Stores, Inc. v. Sebelius, 723 F.3d 1114, 1126 (10th

    Cir. 2013) (en banc) (aff’d sub nom. Burwell v. Hobby Lobby Stores, Inc., 134 S.Ct. 2751 (2014)).

    To have standing, a party must have suffered an injury—“an invasion of a legally protected

    interest”— that is caused “by the conduct complained of” and redressable by the court. Lujan v.

    Defenders of Wildlife, 504 U.S. 555, 560-61 (1992). “If at any point in the litigation the plaintiff

    ceases to meet all three requirements for constitutional standing, . . . the federal court must dismiss

    the case for lack of subject matter jurisdiction.” United States v. Ramos, 695 F.3d 1035, 1046 (10th

    Cir. 2012) (quoting Fla. Wildlife Fed’n, Inc. v. S. Fla. Water Mgmt. Dist., 647 F.3d 1296, 1302

    (11th Cir. 2011)).

           To establish Article III standing, each plaintiff must establish that (1) he has suffered an

    “injury in fact” that is (a) concrete and particularized and (b) actual or imminent, not conjectural

    or hypothetical; (2) the injury is fairly traceable to the challenged action of each defendant; and

    (3) it is likely, as opposed to merely speculative, that the injury will be redressed by the relief

    requested. See Friends of the Earth, Inc. v. Laidlaw Envtl. Servs. (TOC), Inc., 528 U.S. 167, 180–

    81, 120 S.Ct. 693 (2000); Tandy v. City of Wichita, 380 F.3d 1277, 1283 (10th Cir. 2004);

    Hunnicutt v. Zeneca, Inc., Case No. 10-CV-708-TCK-TLW, 2012 WL 4321392, *2-*3 (N.D.

    Okla. Sept. 19, 2012) (“Where there are multiple defendants, the named plaintiff must establish

    standing with respect to each defendant.”). “Each plaintiff must have standing to seek each form

    of relief in each claim.” Am. Humanist Ass’n, Inc. v. Douglas Cty. Sch. Dist. RE-1, 859 F.3d 1243,

    1250 (10th Cir. 2017) (quoting Bronson v. Swensen, 500 F.3d 1099, 1106 (10th Cir. 2007)).




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           The party seeking to invoke federal jurisdiction bears the burden of establishing all three

    elements of standing. Lujan v. Defenders of Wildlife, 504 U.S. 555, 561, 112 S.Ct. 2130 (1992). If

    any one of these three elements—injury, causation, and redressability— is absent, then plaintiff

    has no standing under Article III to assert his claim. Article III standing is determined as of time

    at which plaintiff's complaint was filed. See Nova Health Systems v. Gandy, 416 F.3d 1149, 1154–

    55 (10th Cir. 2005).

           In the Tenth Circuit, the matter of standing must be determined before any class

    certification determination may proceed which includes any proposed application of the juridical

    link doctrine. Hunnicutt v. Zeneca, Inc., Case No. 10-CV-708-TCK-TLW, 2012 WL 113680, *6

    (N.D. Okla. Jan. 13, 2012) (citations omitted). LaFortune has not been able to find case law

    wherein the Tenth Circuit, in the context of class certification, has adopted the juridical link

    doctrine. However, this doctrine cannot be substituted for standing analysis. Hunnicutt v. Zeneca,

    Inc., Case No. 10-CV-708-TCK-TLW, 2012 WL 4321392, *3 n.3 (N.D. Okla. Sept. 19, 2012); see

    Allee v. Medrano, 416 U.S. 802, 828-829 (1974) (“Standing cannot be acquired through the back

    door of a class action.”)(citations omitted); see also 1 Newberg on Class Actions § 2:5 (5th ed.)

    (“In multidefendant class actions, the named plaintiffs must show that each defendant has harmed

    at least one of them. Generally, class representatives do not have standing to sue defendants who

    have not injured them even if those defendants have allegedly injured other class members.”)

    (footnotes omitted).

           This burden exists “at all times throughout the litigation,” Lippoldt v. Cole, 468 F.3d 1204,

    1216 (10th Cir. 2006) though the terminology changes depending on the stage of litigation.

    “[M]ootness ‘[is] the doctrine of standing set in a time frame: The requisite personal interest that

    must exist at the commencement of the litigation (standing) must continue throughout its existence

    (mootness).’” Brown v. Buhman, 822 F.3d 1151, 1164 (10th Cir. 2016) (quoting Arizonans for

    Official English v. Arizona, 520 U.S. 43, 68 n.22, 117 S.Ct. 1055 (1997)). The existence of a live

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    case or controversy is a constitutional prerequisite and therefore mootness is a threshold issue to

    Federal court jurisdiction. Disability Law Ctr. v. Millcreek Health Ctr., 428 F.3d 992, 996 (10th

    Cir. 2005). “‘Without a live, concrete controversy, we lack jurisdiction to consider claims no

    matter how meritorious.’” Habecker v. Town of Estes Park, Colo., 518 F.3d 1217, 1223 (10th

    Cir. 2008) (quoting Mink v. Suthers, 482 F.3d 1244, 1253 (10th Cir. 2007)).

           Declaratory judgment actions must be sustainable under the same mootness criteria that

    apply to any other lawsuits. See Unified Sch. Dist. No. 259, Sedgwick Cnty. Kan. v. Disability

    Rights Ctr. of Kan., 491 F.3d. 1143, 1147 (10th Cir. 2007) As the Tenth Circuit noted in Cox v.

    Phelps Dodge Corp., “[i]t is well established that what makes a declaratory judgment action a

    proper judicial resolution of a case or controversy rather than an advisory opinion is the settling of

    some dispute which affects the behavior of the defendant toward the plaintiff.” 43 F.3d 1345, 1348

    (10th Cir. 1994) (brackets, en dash, and internal quotation marks omitted and emphasis added),

    superseded by statute on other grounds, Civil Rights Act of 1991, Pub.L. No. 102–166, § 102, 105

    Stat. 1071, 1072 (codified at 42 U.S.C. § 1981a), as recognized in Walker v. United Parcel

    Serv., Inc., 240 F.3d 1268, 1278 (10th Cir. 2001).

           The Tenth Circuit determined that a declaratory judgment is a means to proclaim liability

    for a past act, but to define the legal rights and obligations of the parties in anticipation of some

    future conduct. See Utah Animal Rights Coalition v. Salt Lake City Corp., 371 F.3d 1248, 1266

    (10th Cir.2004) See Facio v. Jones, 929 F.2d 541, 544 (10th Cir.1991) (“plaintiff cannot maintain

    a declaratory… action unless he or she can demonstrate a good chance of being likewise injured

    in the future”). “Redressability requires that the court be able to afford relief through the exercise

    of its power, not through the persuasive or even awe-inspiring effect of the opinion explaining the

    exercise of its power.” Gandy, 416 F.3d at 1159 (quoting Franklin v. Massachusetts, 505 U.S. 788,

    825 (1992) (Scalia, J, concurring)).



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           A. A declaratory judgment cannot redress Plaintiffs’ alleged injuries.

           The crux of Plaintiffs’ claims against Presiding Judge LaFortune stem from the presiding

    judge’s authority to promulgate the bail schedule (]Doc. 259 at ¶¶ 22, 55]), the initial creation of

    the bond docket via administrative order (id. at ¶¶ 5, 88), and the general authority to issue

    administrative orders (id. at ¶¶ 22, 59). Plaintiffs’ assertion that the Presiding Judge has authority

    to promulgate local rules (id. at ¶ 22) is incorrect, as well as the allegation that “stacking” is a

    Presiding Judge created policy. 10 (id. at ¶ 59).

           Plaintiff Feltz was advised by the jail staff of the bond pursuant to the bond schedule and

    bonded out via private surety before appearing before a judge. He did not seek reduction of his

    bond, either prior to or after posting the bond. The bond schedule did not delay his release. Feltz

    does not allege, and it is not the case, that any action by any presiding judge, beyond the

    discretionary determination of the amount generally adequate to ensure appearance for any

    particular offense prior to a bond hearing before a judge violated his rights. The creation of a bail

    schedule, as opposed to the application of the schedule, is too attenuated to establish the necessary

    causation – Rule 2 reiterates to the Special Judges that the judges hearing the bond docket have

    the discretion to set conditions of release outside the bail schedule. As for his claims for procedural

    due process, the adoption of Rule 2 11 by a majority of the district and associate judges of Tulsa

    County has mooted his claims. Feltz alleges that prior to the bond docket, he received no process

    at all. Should Feltz again be subject to criminal charges in Tulsa County, he would be subject to

    the Rule 2 procedures.




    10
      AO 2017-6 was issued by former Presiding Judge Nightengale prohibited stacking except for
    particular enumerated violent offenses. AO 2017-6 was superceded by the adoption of LCR2. See
    AO 2019-10.
    11
      Rule 2 provides arrestees notice and opportunity to be heard on the issue of conditions of release.
    See Flandermeyer v. Bonner, 152 P.3d 195, 198 (Okla. 2006).
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            Plaintiff Dennis similarly cannot sustain a claims against Judge LaFortune that would be

    redressable by this court. Dennis was arrested for charges that appear on the bond schedule. As

    soon as he appeared before Judge Wilson on the bond docket, the bond schedule no longer applied

    and he was subject to the discretion of Judge Wilson. A declaratory judgment against Judge

    LaFortune will not redress the discretionary decisions of a judge that LaFortune has no authority

    to overrule or direct. Additionally, LaFortune has no authority to dictate the contours of Rule CR2,

    as it can only be amended by majority vote of non-parties. Therefore, neither Plaintiff has a live

    case or controversy for declaratory relief against Judge LaFortune for these claims because their

    alleged injuries are not fairly traceable to his actions, nor would he be able to affect the requested

    relief. These claims should be dismissed.

            B. Because prospective injunctive relief cannot redress Plaintiffs’ purported harms,
               Plaintiffs lack either standing or have moot claims under Count One or Two against
               LaFortune.

            A plaintiff cannot sustain a claim for prospective injunctive relief that is based on

    “speculative future harm.” Lippoldt v. Cole, 468 F.3d 1204, 1218 (10th Cir. 2006). Plaintiff Feltz

    has never suggested that he faces an appreciable risk of future arrest and subsequent proceedings

    under Rule CR 2. Plaintiff Dennis also would need to allege that he faces an appreciable risk of

    future arrest and subsequent proceedings under Rule CR2 at the bond docket hearing. “[T]o

    establish an actual controversy ..., [Feltz or Dennis] would [need] ... to allege that [he will] ... have

    another encounter with the police.” City of Los Angeles v. Lyons, 461 U.S. 95, 105–06, 103 S.Ct.

    1660 (1983); see also O’Shea v. Littleton, 414 U.S. 488, 497, 94 S.Ct. 669 (1974) (“We assume

    that respondents will conduct their activities within the law and so avoid prosecution and

    conviction as well as exposure to the challenged course of conduct said to be followed by

    petitioners.”). “Absent a sufficient likelihood that [he] will again be wronged in a similar way,

    [Feltz or Dennis] is no more entitled to an injunction than any other citizen of [Oklahoma]; and a



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    federal court may not entertain a claim by any or all citizens who no more than assert that [a state’s

    rules and policies] ... are unconstitutional.” Lyons, 461 U.S. at 111, 103 S.Ct. 1660.

           Furthermore, to the extent Plaintiffs base their claims against LaFortune on the incorrectly

    alleged supervisory authority over the Special Judges, injunctive relief would be barred under Sec.

    1983. The Tulsa County Presiding Judge does not sit in review of the Special Judges’ dockets or

    rulings. However, if the Presiding Judge had authority to review the Special Judges’ docket

    management or rulings, that function would be judicial in nature. See Hyland v. Davis, 149 F.3d

    1183, 1998 WL 384556, *2 (6th Cir. 1998) (unpublished table decision) (“Providing direction on

    the enforcement of a court rule, although somewhat administrative in nature, is still a judicial act

    for which the judge is immune because the parties’ rights and liabilities are thereby affected.”)

    (citing Mann v. Conlin, 22 F.3d 100, 104 (6th Cir.), cert. denied, 513 U.S. 870 (1994)). The United

    States Supreme Court has held that "judges defending against § 1983 actions enjoy absolute

    immunity from damages liability for acts performed in their judicial capacities." Dennis v. Sparks,

    449 U.S. 24, 27 (1980), See also, Wiggins v. New Mexico State Sup. Ct. Clerk, 664 F.2d 812, 814-

    15 (10th Cir.1981); Lundahl v. Zimmer, 296 F.3d 936, 939 (10th Cir. 2002)(citing Stump v.

    Sparkman, 435 U.S. 349, 356-57 (1978)). In fact, an amendment to § 1983, the Federal Court

    Improvement Act of 1996 (“FCIA”) extends judicial immunity to injunctive relief and forbids

    injunctive relief unless a declaratory decree has been violated or declaratory relief is otherwise

    unavailable. 42 U.S.C. § 1983 (“any action brought against a judicial officer for an act or omission

    taken in such officer’s judicial capacity, injunctive relief shall not be granted unless a declaratory

    decree was violated or declaratory relief was unavailable.”) As the injunctive relief requested aims

    to direct judicial decisions, the Court lacks the jurisdiction to issue that type of relief and those

    claims should be dismissed.




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                C. Ex Parte Young does not apply to Plaintiffs’ claims against LaFortune and are
                   barred by the Eleventh Amendment

            Plaintiffs’ claims for injunctive relief must also fail under the Eleventh Amendment. The

    Eleventh Amendment provides, “The Judicial power of the United States shall not be construed to

    extend to any suit in law or equity, commenced or prosecuted against one of the United States by

    Citizens of another State, or by Citizens or Subjects of any Foreign State.” U.S. CONST. AMEND.

    XI. As interpreted by the Supreme Court, “[t]he Eleventh Amendment is a jurisdictional bar that

    precludes unconsented suits in federal court against a state and arms of the state.” Peterson v.

    Martinez, 707 F.3d 1197, 1205 (10th Cir. 2013). Plaintiffs argue their claims fall within the

    Eleventh Amendment exception of Ex parte Young, 209 U.S. 123 (1908), which permits suits

    against state officials in their official capacity “seeking to enjoin alleged ongoing violations of

    federal law.” Crowe & Dunlevy, P.C. v. Stidham, 640 F.3d 1140, 1154 (10th Cir. 2011).

            To come under Ex parte Young, “the plaintiff must be ‘(1) suing state officials rather than

    the state itself, (2) alleging an ongoing violation of federal law, and (3) seeking prospective relief.’”

    Cressman v. Thompson, 719 F.3d 1139, 1146 n. 8 (10th Cir. 2013)(quoting Muscogee (Creek)

    Nation v. Pruitt, 669 F.3d 1159, 1167 (10th Cir. 2012)). It is well established that official capacity

    “claims for . . . , monetary damages, and retroactive declaratory relief are barred by the Eleventh

    Amendment.” Meiners v. University of Kansas, 359 F.3d 1222, 1232 (10th Cir. 2004)(emphasis

    added). Specifically, “declaratory relief is not permitted under Ex parte Young when it would serve

    to declare only past actions in violation of federal law: retroactive declaratory relief cannot be

    properly characterized as prospective.” Roberts v. New York, 911 F. Supp. 2d 149, 163-64

    (N.D.N.Y 2012) (citing in part Green v. Mansour, 474 U.S. 64, 74 (1985) (as “holding that a

    request for a declaratory judgment holding that portions of a statute are unconstitutional is ‘nothing

    more than an indirect way of forcing the State to abide by its obligations as they existed before the

    enactment of the Act and therefore, essentially a request for specific performance’ and, thus, not


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    permitted”)). “In determining whether the doctrine of Ex Parte Young avoids an Eleventh

    Amendment bar to suit, a court need only conduct a straightforward inquiry into whether [the]

    complaint alleges an ongoing violation of federal law and seeks relief properly characterized as

    prospective.” Verizon Maryland, Inc. v. Public Service Com’n of Maryland, 535 U.S. 635, 645

    (2002) (internal quotation marks and citation omitted). “It is true that a complaint must allege that

    the defendant is violating federal law, not simply that the defendant has done so.” NiGen Botech,

    L.L.C. v. Paxton, 804 F.3d 389, 394 (5th Cir. 2015) (citing Green v. Mansour, 474 U.S. 64, 71-73

    (1985)).

           The Supreme Court has emphasized and explained this element’s importance to this

    immunity exception:

           Young's applicability has been tailored to conform as precisely as possible to those
           specific situations in which it is “necessary to permit the federal courts to vindicate
           federal rights and hold state officials responsible to ‘the supreme authority of the
           United States.’” Pennhurst [State School and Hospital v. Halderman, 465 U.S. 89],
           supra, at 105, 104 S.Ct., at 910 [(1984)] (quoting Young, supra 209 U.S., at 160, 28
           S.Ct., at 454). Consequently, Young has been focused on cases in which a violation
           of federal law by a state official is ongoing as opposed to cases in which federal
           law has been violated at one time or over a period of time in the past, as well as on
           cases in which the relief against the state official directly ends the violation of
           federal law as opposed to cases in which that relief is intended indirectly to
           encourage compliance with federal law through deterrence or directly to meet third-
           party interests such as compensation. As we have noted: “Remedies designed to
           end a continuing violation of federal law are necessary to vindicate the federal
           interest in assuring the supremacy of that law. But compensatory or deterrence
           interests are insufficient to overcome the dictates of the Eleventh Amendment.”
           Green v. Mansour, 474 U.S. 64, 68, 106 S.Ct. 423, 426, 88 L.Ed.2d 371 (1985)
           (citation omitted).

    Papasan v. Allain, 478 U.S. 265, 277–78 (1986).

           Further the Supreme Court has held that “an injunction aimed at controlling or preventing

    the occurrence of specific events that might take place in the course of future criminal trials” is

    inappropriate. O’Shea, infra. Plaintiffs’ requested relief as to claims raised against the Presiding




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    Judge and supported by allegations regarding the bails schedule and sufficiency of the bond

    hearing, essentially seeking to control how judges set bail, is improper. 12

           The promulgation and existence of the bail schedule is not an ongoing constitutional

    violation by the Presiding Judge. Enjoining the promulgation of the bails schedule, a discrete, past

    act, is also improper under Ex Parte Young. Plaintiffs have not alleged that they fear being subject

    to future arrest on a charge which appears on the bail schedule. See Collins v. Daniels, 916 F.3d

    1302, 1314-1315 (10th Cir. 2019)(Plaintiff’s claim for prospective relief is moot as she is no longer

    subject to pretrial supervision and there is no appreciable risk of future arrest and subsequent

    arraignment under the Rules and Arnold Tool.). As noted above, the Presiding Judge lacks

    authority to direct or enforce any particular outcome under the bail schedule. Injunctive relief

    which prohibits the creation of a bond schedule would be retrospective in nature and prevents these

    Plaintiffs from having a live case or controversy for this Court to consider. Thus such injunctive

    relief is unavailable under Ex Parte Young. Plaintiffs’ claims against the Presiding Judge should

    be dismissed.

    PROPOSITION II: PLAINTIFFS HAVE FAILED TO STATE A CLAIM AGAINST
                    PRESIDING JUDGE LAFORTUNE

           In Count One, Plaintiffs assert in the claim for relief that their equal protection and due

    process rights are violated because their fundamental right to pretrial liberty and prohibition on

    wealth based detention is infringed. They allege that the Presiding Judge does not “demonstrate

    that detention is necessary”, and detains them “without inquiry into and findings considering

    ability to pay and alternative condition of release, nor the necessity of wealth based pretrial




    12
      To the extent Plaintiffs are seeking to lessen the burden of judicially imposed conditions of
    release via the amounts on the bail schedule rather than reforming procedures used to determine
    conditions imposed at hearings (which the Presiding Judge does not control) requires analysis
    under the specific constitutional clause, in this case the Eighth Amendment. See Graham v.
    Connor, supra.
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    detention. In Count Two Plaintiffs allege that the Presiding Judge violated their rights to pretrial

    liberty by jailing them without procedural due process by failing to provide notice of the critical

    issues to be decided, and failing to provide counsel to present evidence which results in “de facto

    detention” not accompanied by findings on the record under a clear and convincing evidentiary

    standard that detention is necessary to serve a compelling government interest.

           Again, Plaintiffs’ specific claims with respect to the Presiding Judge are that he

    promulgates the bail schedule and maintains administrative and supervisory control over the

    Special Judges. Plaintiffs are correct that the Presiding Judge exercised his statutorily given

    discretion to develop and establish the bail schedule in accordance with the statute. However, as

    explained above, Plaintiffs misapprehend the type and nature of the “control” the Presiding Judge

    has to exercise over the Special Judges, but they misapprehend the actual control that the Presiding

    Judge has over how a Special Judge conducts a docket or makes rulings. The promulgation of the

    bail schedule, in and of itself, does not create a due process or equal protection claims. Plaintiffs

    cannot maintain a claim against Presiding Judge LaFortune based on the Special Judges’

    application (if any) of the bail schedule because he does not have the authority to dictate the use

    or review their decisions.

           The contours of the right to pretrial liberty Plaintiffs assert to support their claims likely

    come from U.S. v. Salerno. Plaintiffs read Salerno too broadly. Plaintiffs’ overly broad reading of

    Salerno to support their due process claims is misplaced. 481 U.S. 739 (1987). Salerno does not

    stand for the proposition that bail decision must meet heightened scrutiny or require written

    findings on the record regarding ability to pay, flight risk, or danger to the community. The Salerno

    Court interpreted a specific federal statute – The Bail Reform Act 18 U.S.C. §3141-3150 – and its

    provisions and requirements. That statute sets out various procedures for criminal defendants

    charged with serious felonies and found, after an adversarial hearing, to pose a threat which no

    condition of release could overcome. Salerno at 751. Salerno is not a framework for determining

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    the minimum due process required under the Fourteenth Amendment in any bail setting. In fact,

    the Tenth Circuit has noted that the Court in Salerno “refused to ‘categorically state that pretrial

    detention offends some principle of justice so rooted in the traditions and conscience of our people

    as to be ranked as fundamental.’” Dawson v. Board of County Commissioners of Jefferson County

    Colorado, 732 F.App’x 624, 631 (10th Cir. 2018)(unpublished)(quoting Salnero, at 751)(internal

    quotations omitted). In other words, Salerno does not stand for the proposition that pretrial liberty

    in all circumstances is a fundamental right of which restrictions require some heightened review.

    The United States Supreme Court has established the accused is not entitled to bail as a

    constitutional right. See U.S. v. Salerno, 481 US 739, 754, 107 S.Ct. 2095 (1987) (citing the

    original source for the Eighth Amendment in English Bill of Rights, the majority finds the very

    language of the Amendment “fails to say all arrests must be bailable” (emphasis added)).

            Circuit Courts that have considered the issue repeatedly observed that bail schedules are

    not per se constitutionally problematic. See, e.g., O’Donnell v. Goodhart, 900 F.3d 220, 224 (5th

    Cir. 2018) (explaining that “the precise constitutional defect in the process afforded was the

    automatic imposition” of cash bail and was remediable with “notice, an opportunity to be heard

    and submit evidence within 48 hours of arrest, and a reasoned decision by an impartial

    decisionmaker”) (quotations omitted); Pugh v. Rainwater, 572 F.2d 1053, 1057 (5th Cir. 1978)

    (en banc) (approving use of a master bond schedule listing out presumptive cash bond amounts);

    accord Walker v. City of Calhoun, Ga., 901 F.3d 1245, 1260-61 (11th Cir. 2018) (discussing

    favorably Rainwater’s approval of master bond schedules), pet. denied, 139 S.Ct. 1446 (2019)

            Plaintiffs are also attempting to improperly frame an Eighth Amendment claim for

    excessive bail, as it relates to the bail schedule, a discrete act, as substantive due process claims. 13

    Multiple courts have found that “if a constitutional claim is covered by a specific constitutional


    13
       Plaintiffs are also improperly attempting to reframe a previously dismissed Sixth Amendment
    claim based on the adequacy of representation at the bond docket as a due process claim.
                                                     ~ 21 ~
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    provision, such as the ... Eighth Amendment, the claim must be analyzed under the standard

    appropriate to that specific provision, not under the rubric of substantive due process.’ Walker v.

    City of Calhoun, Ga., 901 F.3d 1245, 1259 (11th Cir. 2018)); see also Graham, 490 U.S. at 389;

    Albright v. Oliver, 510 U.S. 266, 273 (1994) A plaintiff cannot invoke substantive due process to

    seek relief that can be addressed by more specific constitutional guarantees. Graham v. Connor,

    490 U.S. 386, 395 (1989); accord Portuondo v. Agard, 529 U.S. 61, 74 (2000); Conn v. Gabbert,

    526 U.S. 286, 293 (1999); County of Sacramento v. Lewis, 523 U.S. 833, 842 (1998); United States

    v. Lanier, 520 U.S. 259, 272 n.7 (1997). This accords with the Court’s longstanding “reluctan[ce]

    to expand the concept of substantive due process.” Collins v. City of Harker Heights, 503 U.S.

    115, 125 (1992).

            The Tenth Circuit in Halley v. Huckaby, 902 F.3d 1136 (10th Cir. 2018), recently

    considered the contours of a substantive due process analysis:

            The Supreme Court has identified substantive due process cases that turn on
            whether the government has infringed a right that is “fundamental.” Washington v.
            Glucksberg, 521 U.S. 702, 721-22, 117 S.Ct. 2258, 138 L.Ed.2d 772 (1997)
            (examining an asserted right to assistance in committing suicide). Other times, the
            legal test simply asks if the government action deprives a person of life, liberty, or
            property in a manner that is so arbitrary it shocks the judicial conscience. Cty. of
            Sacramento v. Lewis, 523 U.S. 833, 846, 118 S.Ct. 1708, 140 L.Ed.2d 1043 (1998)
            (examining a high-speed police chase). There is uncertainty about when we apply
            these various tests, see Moya v. Garcia, 887 F.3d 1161, 1174 (10th Cir. 2018)
            (McHugh, J., concurring in part and dissenting in part), but as explained in recent
            cases, our circuit has coalesced around a solution: we apply the fundamental-rights
            approach when the plaintiff challenges legislative action, and the shocks-
            theconscience approach when the plaintiff seeks relief for tortious executive action.
            See Browder v. City of Albuquerque, 787 F.3d 1076, 1079 (10th Cir. 2015); Dias v.
            City & Cty. of Denver, 567 F.3d 1169, 1182 (10th Cir. 2009); Dawson, at 635-37
            (Tymkovich, J., concurring).

    Halley, at 1153. The Presiding Judge is a statutorily created administrative position operating in

    an executive capacity. The bail schedule issued by the presiding judge, as delegated by the

    Legislature as part of the statutory scheme, promotes the basic function of a Presiding Judge’s

    duties, i.e. efficient operation of the courts and its dockets to allow those eligible to bypass a formal

                                                     ~ 22 ~
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    bond setting procedure and go straight to arraignment. The Tulsa County bail schedule meets all

    of the elements required by the Legislature (numerical amounts, capable of reduction to judgment),

    issued by a presiding judge and subject to review by the district court and the district attorney. 22

    O.S. § 1105.2. That the Presiding Judge issued the bail schedule in accordance with the

    legislatively enacted bail scheme is in no way conscience shocking for purposes of a due process

    analysis. Any individual bond for a particular offense on the schedule is subject to review by the

    District Court and the District Attorney of the judicial district, or in individual cases upon

    appearance before a judge. A bail schedule promotes a legitimate governmental interest in

    processing arrestees in an efficient manner and in and of itself does not violate substantive due

    process. See Walker v. City of Calhoun, Ga., 901 F.3d 1245 (11th Cir. 2018). Plaintiffs, therefore,

    have not stated a due process claim against Presiding Judge LaFortune, and this action should be

    dismissed against him.

                                             CONCLUSION

           For the reasons set forth above, Presiding Judge LaFortune requests that the Court dismiss

    Plaintiffs’ claims, including class allegations, against him for lack of subject matter jurisdiction

    and failure to state a claim and grant Presiding Judge LaFortune all other relief deemed just and

    equitable.

                                                  Respectfully submitted,

                                                  /s/ Stefanie E. Lawson
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                                    CERTIFICATE OF SERVICE

          I hereby certify that on this 31st day of March 2021, a true and correct copy of the foregoing
    document was served via the Court’s ECF system to all registered counsel for the litigants herein.

                                                  /s/ Stefanie E. Lawson
                                                  Stefanie E. Lawson




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